              Case 19-18994-VFP                   Doc 1     Filed 05/01/19 Entered 05/01/19 23:24:21                               Desc Main
                                                            Document     Page 1 of 10
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Marine Environmental Remediation Group LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12 Hillcrest Road
                                  Mountain Lakes, NJ 07046-1327
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Pier 3 Roosevelt Roads Ceiba, PR 00735
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.mergroupllc.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                 Document     Page 2 ofCase
                                                                                        10 number (if known)
          Marine Environmental Remediation Group LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3366

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                          Case number
                                                District                                  When                          Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor     MER Group Puerto Rico LLC                                   Relationship              Affiliate
                                                District   New Jersey                     When       5/01/19           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                            Document     Page 3 ofCase
                                                                                   10 number (if known)
         Marine Environmental Remediation Group LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.     Insurance agency
                                                      Contact name
                                                      Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                             Document     Page 4 ofCase
                                                                                    10 number (if known)
          Marine Environmental Remediation Group LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      05/01/2019
                                                  MM / DD / YYYY


                             X                                                                           Martin Vulaj
                                 Signature of authorized representative of debtor                        Printed name

                                 Title    Chief Executive Officer




                             X    /s/ Schuyler G. Carroll                                                 Date 05/01/2019
18. Signature of attorney
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Schuyler G. Carroll
                                 Printed name

                                 Perkins Coie LLP
                                 Firm name

                                 30 Rockefeller Plaza
                                 22nd Floor
                                 New York, NY 10112-0085
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-262-6900                  Email address       carro       er n co e.co

                                 2511707 NY
                                 Bar number and State




                                     ND



                                 Jeffrey D. Vanacore
                                 Printed name

                                 Perkins Coie LLP
                                 Firm name

                                 30 Rockefeller Plaza
                                 22nd Floor
                                 New York, NY 10112-0085
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-262-6900                  Email address       anacore      er n co e.co

                                 0        00 NJ
                                 Bar number and State


Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:
 Debtor name Marine Environmental Remediation Group LLC
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AKA Electrical                                                                                                                                                            $5,688.00
 Engineering &
 Contractors
 R973 Barrio Mariana
 Rr 3
 Naguabo, PR 00718
 Atlantic Marine                                                                                                                                                          $83,429.40
 Associates
 24 Whitehall Street,
 31st Floor
 New York, NY 10004
 BDO Puerto Rico,                                                                                                                                                         $29,956.43
 P.S.C.
 1302 Avenida Juan
 Ponce de Leon
 San Juan, PR 00907
 Corporacion del                                                                                                                                                        $271,041.06
 Fondo del Seguro
 del Estado
 Bo. Juan Sanchez
 PR #2, KM 8.5
 Bayamon, PR 00960
 Deb Metals & Trade,                                                                                                                                                       $5,781.95
 Inc.

 Eagle Industries of                                                                                                                                                       $6,389.32
 LA, Inc.
 5531 River Road
 New Orleans, LA
 70123
 EC Waste                                                                                                                                                                  $8,393.82
 Carretera #923 KM
 2.5
 Barrio, PR 00791




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Marine Environmental Remediation Group LLC                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Edge Legal                                                                                                                                                               $27,305.92
 Strategies, PSC
 252 Ponce de Leon
 Ave
 Citibank Tower, 12
 Floor
 San Juan, PR 00918
 Kevane Grant                                                                                                                                                             $23,153.79
 Thornton
 33 Calle Bolivia #400
 San Juan, PR 00917
 Local                                                                                                                                                                  $295,779.82
 Redevelopment
 Authority
 Fomento Building
 355 F.D. Roosevelt
 Ave., Office 106
 Hato Rey, PR 00918
 McAllister Towing of                                                                                                                                                      $8,250.00
 Charleston, Inc.
 1120 North Port
 Drive
 North Charleston,
 SC 29405
 Merlin Law Group                                                                                                                                                          $6,120.00
 530 Ave. de la
 Constitucion
 San Juan, PR 00901
 Praxair                                                                                                                                                                  $87,643.61
 PR 189
 Gurabo, PR 00778
 Ranjan O. Bose                                                                                                                                                            $6,000.00
 11 Barton Road
 Mountain Lakes, NJ
 07046
 RIMCO CAT                                                                                                                                                                $17,891.62
 Km 3.7 Expreso
 John F. Kennedy
 San Juan, PR 00920
 Royal 2000 Renting                                                                                                                                                       $10,090.00
 & Leasing Corp.
 Ave. 65 Infantry, KM
 5
 Rio Piedras, PR
 00924
 South PR Towing &                                                                                                                                                        $27,400.00
 Boat Service, Inc.
 Bahia
 Ponce, PR 00716




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Marine Environmental Remediation Group LLC                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 St James Security                                                                                                                                                        $44,054.97
 Services LLC
 St James Building
 1604 Ave. Ponce de
 Leon
 San Juan, PR 00926
 Tropigas                                                                                                                                                                  $6,762.66
 Luchetti Industrial
 Park
 180 Calle A
 Bayamon, PR 00961
 Yogesh Rehani                                                                                                                                                            $13,930.25
 5935 Logans Way,
 Unit 2
 Ellicott City, MD
 21043




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                              United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Marine Environmental Remediation Group LLC                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Lawrence Kahn                                                       Common           3.2%
                                                                     Equity

 Maritime Equities LLC                                               Common           96.8%
                                                                     Equity


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date 05/01/2019                                                              Signature
                                                                                            Martin Vulaj

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      Marine Environmental Remediation Group LLC                                                 Case No.
                                                                                   Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Marine Environmental Remediation Group LLC in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
 Maritime Equities LLC




 None [Check if applicable]




 05/01/2019                                                           /s/ Schuyler G. Carroll
 Date                                                                 Schuyler G. Carroll
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Marine Environmental Remediation Group LLC
                                                                      Perkins Coie LLP - New York
                                                                      30 Rockefeller Plaza
                                                                      22nd Floor
                                                                      New York, NY 10112-0085
                                                                      212-262-6900 Fax:212-977-1649




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 Fill in this information to identify the case:

 Debtor name         Marine Environmental Remediation Group LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration                 Petition, List of Equity Holders, Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          05/01/2019                              X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Martin Vulaj
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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